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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

        WILLIAM A. BARRON, JR.,
        and RUSSELL NELSON

               Plaintiffs,
        v.                                  CIVIL ACTION FILE
                                            NO. 4: 15-CV-0038-HLM

        MICHAEL W. LAMPLEY,
        ARNO JUSTMAN,
        ROBERTSON M. LEATHERMAN, JR.,
        GLOBAL SPORTS GROUP, LLC
        SPORTS PRO GROUP, LLC
        LJFG, LLC, DJE;LLC,
        TUNICA MUSIC GROUP, LLC,
        JOHN DOES 1-10, and
        DOE, INC. 1-10,

               Defendants.·
                                         ORDER

               This case is before the Court on Plaintiffs' Motion to

        Appoint Receiver [11 ], Plaintiffs' Motion for Preliminary

        Injunction [12], and Plaintiffs' Proposed Order on Plaintiffs'


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        Motions for Appointment of Receiver and for Preliminary

        Injunction [65].

            On May 18, 2015, Plaintiffs submitted a Proposed

        Order addressing Plaintiffs' Motion to Appoint Receiver and

        Motion for Preliminary Injunction. (Docket Entry No. 65.)

        On the same day, the Court entered an Order giving

        Defendants fourteen days to object to Plaintiffs' Proposed

        Order or the Proposed Order would go into effect. (Docket

        Entry No. 66.)      The time for Defendants to object has

        passed without any objection. For the sake of clarity, the

        Court issues this Order to ensure that the Parties comply

        with the Proposed Order.

            ACCORDINGLY,             the       Court   ADOPTS        Plaintiffs'

        Proposed Order [65] as the Order of this Court except as to

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        Part 111 of the Proposed Order. The Court does not reserve

        ruling on Plaintiffs' pending Motion to Appoint Receiver [11]

        and Motion for Preliminary Injunction [12].               Instead, the

        Court DENIES WITHOUT PREJUDICE the                           Motion to

        Appoint Receiver and Motion for Preliminary Injunction. All

        time limits contained in the Proposed Order shall run from

        the date fo this Order.
                                                       ~
             IT IS SO ORDERED, this the~ day of June, 2015.




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